Case 1:10-cr-20410-JAL Document 796 Entered on FLSD Docket 09/08/2011 Page 1 of 8




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 10-20410-CR-LENARD/TURNOFF

  UNITED STATES OF AMERICA,

                      Plaintiff,
  vs.

  RAHMIN JEFFERSON,

                   Defendant.
  ________________________________/

        ORDER ADOPTING REPORT AND RECOMMENDATION (D.E. 551)
        AND DENYING DEFENDANT RAHMIN JEFFERSON’S MOTION TO
                         SUPPRESS (D.E. 282)

        THIS CAUSE is before the Court on the Report and Recommendation of U.S.

  Magistrate Judge William C. Turnoff (“Report,” D.E. 551), issued on December 20,

  2010. In his Report, Magistrate Judge Turnoff recommends that Defendant Rahmin

  Jefferson’s Motion to Suppress (D.E. 282), filed on August 28, 2010, be denied.

  Jefferson filed Objections (D.E. 591) to the Report on January 24, 2011, to which the

  Government responded (D.E. 682) on April 8, 2011. Upon review of the Report,

  Objections, Response and the record, the Court finds as follows.

  I.    Background

        Defendant Rahmin Jefferson, alleged participant in a narcotics trafficking

  conspiracy, now moves to suppress the fruits of a search conducted of his vehicle on

  September 16, 2009. (See Jefferson Mot. to Suppress, D.E. 282.) Magistrate Judge

  Turnoff held a hearing on the motion on October 12, 2010 (Hearing Tr., D.E. 424) at
Case 1:10-cr-20410-JAL Document 796 Entered on FLSD Docket 09/08/2011 Page 2 of 8




  which Detective Carlos Velez and FBI Special Agent Lionel S. Lofton, Jr. testified.

         The Report recommends denying Jefferson’s motion. (Report at 10-11.)

  Magistrate Judge Turnoff finds that on September 16, 2009, Lofton and Velez had

  probable cause to stop Jefferson due to information obtained from intercepted phone calls

  and observed traffic violations. (Id. at 4-6.) Once stopped, Lofton and Velez did not

  unlawfully detain Jefferson while the K-9 officer arrived and the K-9 sniffed Jefferson’s

  car. (Id. at 7.) Once the K-9 alerted to the interior of Jefferson’s vehicle, the officers had

  probable cause to search there. (Id. at 8.) Finally, the search of Jefferson’s vehicle was

  legal as incident to his lawful arrest and as an inventory search. (Id. at 8-10.)

         Jefferson objects to the findings of the Report. He first argues that there was no

  probable cause to stop him based on wiretap intercepts nor his traffic violations.

  (Objections at 2-4.) Jefferson also contends that the duration of his stop on September

  16, 2009 was unconstitutionally prolonged while the K-9 officer arrived. (Id. at 6-7.) He

  also revealed the presence of incense/fake cocaine after he was told the K-9 was on its

  way. (Id. at 4-5.) Finally, he claims that the search of his vehicle was not incident to

  lawful arrest nor made pursuant to valid inventory search (Id. at 8-11.) For these reasons,

  Jefferson requests this Court to overrule the Magistrate’s Report.

         The Government responds to Jefferson’s objections and in support of the Report’s

  findings and recommendations. In addition to its support for the Report’s findings and

  recommendation, the Government adds that Jefferson lacks standing to move to suppress

  the search of his vehicle as he was not an authorized driver on the rental agreement. (See


                                                 2
Case 1:10-cr-20410-JAL Document 796 Entered on FLSD Docket 09/08/2011 Page 3 of 8




  Resp. at 8-10.)

  II.    Discussion

         A.     Velez and Lofton Had Probable Cause to Search Jefferson’s Vehicle

         A search conducted without warrant issued upon probable cause is per se

  unreasonable under the Fourth Amendment, subject to a few specific exceptions.

  Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973) (quotation omitted). One such

  exception is the search of an automobile by police when they have probable cause to

  believe it contains contraband. United States v. Ross, 456 U.S. 798, 808-09 (1982) (the

  probable-cause determination must be based on objective facts that could justify the

  issuance of a search warrant by a magistrate). Probable cause, in turn, exists when under

  the totality of the circumstances, there is a fair probability that contraband or evidence of

  a crime will be found in the vehicle.” United States v. Lindsey, 482 F.3d 1285, 1293

  (11th Cir. 2007) (citation omitted). The first order of business for this Court is to

  determine whether Lofton and Velez had probable cause to stop Jefferson.

         A traffic stop is valid “if it is either based upon probable cause to believe a traffic

  violation has occurred or justified by reasonable suspicion in accordance with Terry.”

  United States v. Harris, 526 F.3d 1334, 1338 (11th Cir. 2008) (referring to Terry v. Ohio,

  392 U.S. 1 (1968)). Subjective intentions of the officers making the stop are irrelevant in

  the ordinary, Fourth Amendment probable cause analysis. Whren v. United States, 517

  U.S. 806, 810 (1996) (rejecting the pretextual stop analysis and looking only to probable

  cause as justification for the stop).


                                                 3
Case 1:10-cr-20410-JAL Document 796 Entered on FLSD Docket 09/08/2011 Page 4 of 8




         The Court finds that Jefferson’s traffic stop on September 16, 2009 was valid.

  Detective Velez testified that he and Agent Lofton observed Jefferson run four stop signs

  after leaving the house of his co-defendant’s mother. (Hearing Tr. at 48-49, 58-59.)

  These observed violations are more than sufficient to give rise to the probable cause

  necessary for the officers to stop Jefferson’s vehicle.

         B.     The Officer’s K-9 Search of Jefferson’s Vehicle Was Not Unlawful

         Once stopped, Velez decided to call the K-9 officer to come and have the K-9 walk

  around Jefferson’s car. (Id. at 51.) Despite Jefferson’s objection that the K-9 request was

  unjustified, the officers required no justification to request the search. See Illinois v.

  Caballes, 543 U.S. 405, 414 (2005) (police ordered K-9 sniff search without particular

  suspicion; the Supreme Court held that a sniff search does not require a reasonable,

  articulable suspicion of criminal activity). In Cabelles, the Supreme Court held that an

  exterior sniff search by a K-9 only alerts to the possession of contraband, which is not a

  legitimate privacy interest protected by the Fourth Amendment. 543 U.S. at 408-09.

  Thus, Jefferson’s agument that Lofton and Velez had no reasonable justification to

  request a K-9 search is irrelevant.

         The Court’s only concern regarding the K-9 search is whether the delay imposed

  by the search is reasonable in light of the offense for which Jefferson was stopped. See

  United States v. Gonzalez, 275 Fed. Appx. 930, 933 (11th Cir. 2008). “The duration of

  the stop must be limited to the time necessary to effectuate the purpose of the stop.” Id.

  (Eleventh Circuit held that defendant’s detainment of 8 to 10 minutes between his stop for


                                                 4
Case 1:10-cr-20410-JAL Document 796 Entered on FLSD Docket 09/08/2011 Page 5 of 8




  improper lane usage and his consent to sniff search was not unreasonable).

         At the hearing, Velez testified that the K-9 arrived “within a minute” of Jefferson’s

  stop as three or four dogs were training in the area that night. (Tr. at 53.) Shortly after,

  the dog alerted to the presence of a firearm and a bag of what initially field tested positive

  for cocaine inside Jefferson’s car. (Id. at 53-54.) Jefferson volunteered to the officers that

  the bag was filled with incense and he would sell it as cocaine; later it would turn out that

  the bag of cocaine was really incense. (Id. at 55.) Jefferson was then placed under arrest.

         In his Objections, Jefferson claims that the time of his stop was unconstitutionally

  prolonged. (Objections at 6-7.) He does not, however, contradict the testimony of the

  officers at the hearing nor allege a longer period of time elapsed. Here, the Court must

  defer to the Magistrate’s credibility determination and his role of the fact-finder regarding

  the length of the stop. See United States v. Ramirez-Chilel, 289 F.3d 744, 749 (11th Cir.

  2002) (stating that credibility determinations are within the province of the fact finder and

  should not be disturbed). Given the short time that elapsed between the stop and K-9

  search, in addition to Jefferson’s exiting the vehicle and seeming nervousness, the Court

  finds that the K-9 search was not unreasonable in time or scope. See Gonzalez, 275 Fed.

  Appx. at 931, 934 (the Eleventh Circuit affirmed denial of a motion to suppress, finding

  that defendant was not unlawfully detained and the subsequent sniff search was not

  invalid after he was stopped for improper lane usage, became visibly nervous during

  preliminary questioning and the time between stop and consent to search was 8-10

  minutes). Once the K-9 alerted to the Jefferson’s car, the officers had probable cause to


                                                5
Case 1:10-cr-20410-JAL Document 796 Entered on FLSD Docket 09/08/2011 Page 6 of 8




  conduct a search of the vehicle. United States v. Glinton, 154 F.3d 1245, 1257 (11th Cir.

  1998). As a result, the firearm found under Jefferson’s front seat should not be

  suppressed.

         C.     The Search of Jefferson’s Car Was Incident to Lawful Arrest And A

                Valid Inventory Search

         Having found that the officers had probable cause to stop Jefferson, his detainment

  was not unconstitutionally prolonged, and therefore the evidence found following K-9

  search was did not violate Jefferson’s Fourth Amendment rights, the arrest of Jefferson

  was lawful.

         Searches conducted incident to lawful arrest are an exception to the warrant

  requirement. United States v. Robinson, 414 U.S. 218, 224 (1973). The arrest must be

  objectively reasonable under the totality of the circumstances. United States v. Lyons,

  403 F.3d 1248, 1253 (11th Cir. 2005). The search incident to arrest is then allowed of the

  suspect’s person and immediate area from which he can destroy evidence or grab a

  weapon. United States v. Standridge, 810 F.2d 1034, 1037 (11th Cir. 1987).

         Here, Jefferson was arrested near the car he was driving. It is unclear just how

  close he was to the car once the officers found probable cause for his arrest. Contrary to

  the authority he cites in his Objections, he was not fleeing the scene or a sufficient

  distance away from his vehicle that the officer’s search of his car could not be lawfully

  deemed a search incident to arrest. Contrast with United States v. Green, 324 F.3d 375,

  378-79 (5th Cir. 2003) (defendant had fled from his vehicle, was tackled and handcuffed


                                                6
Case 1:10-cr-20410-JAL Document 796 Entered on FLSD Docket 09/08/2011 Page 7 of 8




  on the ground before officer’s decided to search his vehicle).

         Jefferson’s lawful arrest also triggered the impoundment of the rental vehicle he

  was driving. Once the vehicle was left without a driver, the officers were within their

  power to conduct an inventory search to secure Jefferson’s property and to protect

  themselves from any dangers contained within the vehicle. See Colorado v. Bertine, 479

  U.S. 367, 371 (1987). Such an inventory search is another exception to the warrant

  requirement. See id. Therefore, the items found in the search of Jefferson’s vehicle, a

  handgun, ammunition and a scale, should not be suppressed.

         Furthermore, as an unauthorized driver of the rental car, Jefferson has no

  legitimate privacy interest in the car. See United States v. Cooper, 133 F.3d 1394, 1400

  (11th Cir. 1998) (citing United States v. Wellons, 32 F.3d 117, 119 (4th Cir.1994)); see

  also United States v. Boruff, 909 F.2d 111 (5th Cir. 1990). As an alternative holding, the

  Court finds Jefferson lacks standing to challenge the post-arrest search of the vehicle he

  was driving on September 16, 2009.

         For all of the foregoing reasons, Jefferson’s Motion to Suppress must be denied.

         Accordingly, it is hereby ORDERED AND ADJUDGED that:

         1.     The Report and Recommendation of U.S. Magistrate Judge William C.

                Turnoff (D.E. 551), issued on November 12, 2011, is ADOPTED.

         2.     DefendantRahmin Jefferson’s Motion to Suppress (D.E. 282), filed on

                August 30, 2010, is DENIED.




                                               7
Case 1:10-cr-20410-JAL Document 796 Entered on FLSD Docket 09/08/2011 Page 8 of 8




        DONE AND ORDERED in Chambers at Miami, Florida, this 8th day of

  September, 2011.



                                                  JOAN A. LENARD
                                            UNITED STATES DISTRICT JUDGE




                                        8
